                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         CASE NO. 1:14-CV-954

    STUDENTS FOR FAIR
    ADMISSIONS, INC.,

                           Plaintiff,
                                                     DECLARATION OF THOMAS
                         v.                          MCCARTHY IN SUPPORT OF
                                                     PLAINTIFF’S MOTION FOR
                                                     SUMMARY JUDGMENT
    UNIVERSITY OF NORTH
    CAROLINA et al.,

                           Defendants.



        I, Thomas McCarthy, pursuant to 28 U.S.C. § 1746, declare the following:

        1.     I am over eighteen years of age, have personal knowledge of the facts stated

herein, and if called upon to do so, could and would testify competently thereto.

        2.     I am an attorney at Consovoy McCarthy Park PLLC and represent Plaintiff

Students for Fair Admissions, Inc. (“SFFA”) in the above-styled action.

        3.     I provide this declaration in support of SFFA’s motion for summary judgment.

        4.     Attached hereto as Exhibit 1 is a true and correct copy of a document bearing

bates number SFFA-UNC 0000052 that was produced by SFFA in this litigation.

        5.     Attached hereto as Exhibit 2 is a true and correct copy of a document titled

“History and Traditions” that was retrieved from the University of North Carolina at Chapel

Hill’s website on September 18, 2018.




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        6.     Attached hereto as Exhibit 3 is a true and correct copy of Rosenberg Exhibit

2, which was marked by SFFA at the Rosenberg deposition. The document bears the bates

number UNC0000003 and was produced by UNC in this litigation.

        7.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts of UNC’s

Responses and Objections to Plaintiff’s Second Set of Interrogatories.

        8.     Attached hereto as Exhibit 5 is a true and correct copy of Parrish Exhibit 2,

which was marked by SFFA at the Parrish deposition. The document bears the bates number

UNC0323603 and was produced by UNC in this litigation.

        9.     Attached hereto as Exhibit 6 is a true and correct copy of Coleman Exhibit 15,

which was marked by SFFA at the Coleman deposition. The document bears the bates number

UNC0209654 and was produced by UNC in this litigation.

        10.    Attached hereto as Exhibit 7 is a true and correct copy of UNC’s Responses

and Objections to Plaintiff’s First Requests for Admissions.

        11.    Attached hereto as Exhibit 8 is a true and correct copy of Parrish Exhibit 3,

which was marked by SFFA at the Parrish deposition. The document bears the bates number

UNC0103716 and was produced by UNC in this litigation.

        12.    Attached hereto as Exhibit 9 is a true and correct copy of Rosenberg Exhibit

11, which was marked by SFFA at the Rosenberg deposition. The document bears the bates

number UNC0079824 and was produced by UNC in this litigation.

        13.    Attached hereto as Exhibit 10 is a true and correct copy of Kretchmar Exhibit

5, which was marked by SFFA at the Kretchmar deposition. The document bears the bates

number UNC0081617 and was produced by UNC in this litigation.




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        14.    Attached hereto as Exhibit 11 is a true and correct copy of Polk Exhibit 17,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0082983 and was produced by UNC in this litigation.

        15.    Attached hereto as Exhibit 12 is a true and correct copy of Williford Exhibit

17, which was marked by SFFA at the Williford deposition. The document bears the bates

number UNC0082952 and was produced by UNC in this litigation.

        16.    Attached hereto as Exhibit 13 is a true and correct copy of Rosenberg Exhibit

6, which was marked by SFFA at the Rosenberg deposition. The document bears the bates

number UNC0079503 and was produced by UNC in this litigation.

        17.    Attached hereto as Exhibit 14 is a true and correct copy of Alexander Exhibit

7, which was marked by SFFA at the Alexander deposition. The document is titled

“Chancellor’s Task Force on Diversity” and was retrieved from the University of North

Carolina at Chapel Hill’s website on April 13, 2017.

        18.    Attached hereto as Exhibit 15 is a true and correct copy of an amicus brief

filed by the University of North Carolina at Chapel Hill in the Supreme Court case Fisher v.

Texas, No. 11-345.

        19.    Attached hereto as Exhibit 16 is a true and correct copy of Coleman Exhibit

3, which was marked by SFFA at the Coleman deposition. The document bears the bates

number UNC0224136 and was produced by UNC in this litigation.

        20.    Attached hereto as Exhibit 17 is a true and correct copy of Parrish Exhibit 12,

which was marked by SFFA at the Parrish deposition. The document bears the bates number

UNC0087530 and was produced by UNC in this litigation.




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        21.    Attached hereto as Exhibit 18 is a true and correct copy of Toone Exhibit 22,

which was marked by SFFA at the Toone deposition. The document bears the bates number

UNC0171436 and was produced by UNC in this litigation.

        22.    Attached hereto as Exhibit 19 is a true and correct copy of Parrish Exhibit 14,

which was marked by SFFA at the Parrish deposition. The document bears the bates number

UNC0186917 and was produced by UNC in this litigation.

        23.    Attached hereto as Exhibit 20 is a true and correct copy of Parrish Exhibit 13,

which was marked by SFFA at the Parrish deposition. The document bears the bates number

UNC0186754 and was produced by UNC in this litigation.

        24.    Attached hereto as Exhibit 21 is a true and correct copy of excerpts of UNC’s

Responses and Objections to Plaintiff’s First Set of Interrogatories.

        25.    Attached hereto as Exhibit 22 is a true and correct copy of a document bearing

bates number UNC0098990 that was produced by UNC in this litigation.

        26.    Attached hereto as Exhibit 23 is a true and correct copy of Coleman Exhibit

2, which was marked by SFFA at the Coleman deposition. The document bears the bates

number UNC0128687 and was produced by UNC in this litigation.

        27.    Attached hereto as Exhibit 24 is a true and correct copy of Coleman Exhibit

14, which was marked by SFFA at the Coleman deposition. The document bears the bates

number UNC0128124 and was produced by UNC in this litigation.

        28.    Attached hereto as Exhibit 25 is a true and correct copy of excerpts of UNC’s

Answer.




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        29.   Attached hereto as Exhibit 26 is a true and correct copy of Polk Exhibit 6,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0209034 and was produced by UNC in this litigation.

        30.   Attached hereto as Exhibit 27 is a true and correct copy of Perkins Exhibit 20,

which was marked by SFFA at the Perkins deposition. The document bears the bates number

UNC0230512 and was produced by UNC in this litigation.

        31.   Attached hereto as Exhibit 28 is a true and correct copy of Perkins Exhibit 10,

which was marked by SFFA at the Perkins deposition. The document bears the bates number

UNC0231015 and was produced by UNC in this litigation.

        32.   Attached hereto as Exhibit 29 is a true and correct copy of Polk Exhibit 3,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0194840 and was produced by UNC in this litigation.

        33.   Attached hereto as Exhibit 30 is a true and correct copy of Polk Exhibit 4,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0194844 and was produced by UNC in this litigation.

        34.   Attached hereto as Exhibit 31 is a true and correct copy of Polk Exhibit 5,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0194845 and was produced by UNC in this litigation.

        35.   Attached hereto as Exhibit 32 is a true and correct copy of Polk Exhibit 13,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0083090 and was produced by UNC in this litigation.

        36.   Attached hereto as Exhibit 33 is a true and correct copy of a document bearing

bates number UNC0379534 that was produced by UNC in this litigation.



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        37.   Attached hereto as Exhibit 34 is a true and correct copy of a document bearing

bates number UNC0179477 that was produced by UNC in this litigation.

        38.   Attached hereto as Exhibit 35 is a true and correct copy of Perkins Exhibit 7,

which was marked by SFFA at the Perkins deposition. The document bears the bates number

UNC0064294 and was produced by UNC in this litigation.

        39.   Attached hereto as Exhibit 36 is a true and correct copy of Polk Exhibit 8,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0064291 and was produced by UNC in this litigation.

        40.   Attached hereto as Exhibit 37 is a true and correct copy of Polk Exhibit 9,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0194910 and was produced by UNC in this litigation.

        41.   Attached hereto as Exhibit 38 is a true and correct copy of Polk Exhibit 10,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0194934 and was produced by UNC in this litigation.

        42.   Attached hereto as Exhibit 39 is a true and correct copy of a document bearing

bates number UNC0236929 that was produced by UNC in this litigation.

        43.   Attached hereto as Exhibit 40 is a true and correct copy of a document bearing

bates number UNC0124078 that was produced by UNC in this litigation.

        44.   Attached hereto as Exhibit 41 is a true and correct copy of a document bearing

bates number UNC0109850 that was produced by UNC in this litigation.

        45.   Attached hereto as Exhibit 42 is a true and correct copy of a document bearing

bates number UNC0326476 that was produced by UNC in this litigation.




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        46.   Attached hereto as Exhibit 43 is a true and correct copy of Folt Exhibit 15,

which was marked by SFFA at the Folt deposition. The document is publicly available on a

website maintained by UNC, see https://carolinacommitment.unc.edu/files/2014/10/UNC-

FINAL-REPORT.pdf.

        47.   Attached hereto as Exhibit 44 is a true and correct copy of Kretchmar Exhibit

18, which was marked by SFFA at the Kretchmar deposition. The document bears the bates

number UNC0103670 and was produced by UNC in this litigation.

        48.   Attached hereto as Exhibit 45 is a true and correct copy of Kretchmar Exhibit

15, which was marked by SFFA at the Kretchmar deposition. The document bears the bates

number UNC0080085 and was produced by UNC in this litigation.

        49.   Attached hereto as Exhibit 46 is a true and correct copy of Polk Exhibit 22,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0079625 and was produced by UNC in this litigation.

        50.   Attached hereto as Exhibit 47 is a true and correct copy of a document bearing

bates number UNC0326127 that was produced by UNC in this litigation.

        51.   Attached hereto as Exhibit 48 is a true and correct copy of Polk Exhibit 26,

which was marked by SFFA at the Polk deposition. The document bears the bates number

UNC0097417 and was produced by UNC in this litigation.

        52.   Attached hereto as Exhibit 49 is a true and correct copy of a document bearing

bates number UNC0209194 that was produced by UNC in this litigation.

        53.   Exhibit 50 is omitted.

        54.   Exhibit 51 is omitted.

        55.   Exhibit 52 is omitted.



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        56.    Exhibit 53 is omitted.

        57.    Exhibit 54 is omitted.

        58.    Exhibit 55 is omitted.

        59.    Attached hereto as Exhibit 56 is a true and correct copy of the Expert Report

of Caroline M. Hoxby.

        60.    Attached hereto as Exhibit 57 is a true and correct copy of the Rebuttal Report

of Caroline M. Hoxby.

        61.    Attached hereto as Exhibit 58 is a true and correct copy of the Reply Report

of Caroline M. Hoxby.

        62.    Attached hereto as Exhibit 59 is a true and correct copy of Kosorok Exhibit

3, which was marked by SFFA at the Kosorok deposition. The document bears the bates

number UNC0380807 and was produced by UNC in this litigation.

        63.    Attached hereto as Exhibit 60 is a true and correct copy of excerpts of the

April 18, 2018 deposition of Rumay Alexander.

        64.    Attached hereto as Exhibit 61 is a true and correct copy of excerpts of the July

13, 2018 deposition of Mitchell Chang.

        65.    Attached hereto as Exhibit 62 is a true and correct copy of excerpts of the May

24, 2017 deposition of Taffye Benson Clayton.

        66.    Attached hereto as Exhibit 63 is a true and correct copy of excerpts of the June

23, 2017 deposition of Yolanda Coleman.

        67.    Attached hereto as Exhibit 64 is a true and correct copy of excerpts of the

December 5, 2018 deposition of Patrick Curran.




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        68.    Attached hereto as Exhibit 65 is a true and correct copy of excerpts of the June

15, 2017 deposition of Michael Davis.

        69.    Attached hereto as Exhibit 66 is a true and correct copy of excerpts of the June

23, 2017 deposition of Jim Dean.

        70.    Attached hereto as Exhibit 67 is a true and correct copy of excerpts of the

March 3, 2017 deposition of Christopher Faison.

        71.    Attached hereto as Exhibit 68 is a true and correct copy of excerpts of the June

28, 2017 deposition of Stephen Farmer.

        72.    Attached hereto as Exhibit 69 is a true and correct copy of excerpts of the May

31, 2017 deposition of Carol Lynn Folt.

        73.    Attached hereto as Exhibit 70 is a true and correct copy of excerpts of the July

18, 2018 deposition of Caroline Hoxby.

        74.    Attached hereto as Exhibit 71 is a true and correct copy of excerpts of the

November 28, 2018 deposition of Michael Kosorok.

        75.    Attached hereto as Exhibit 72 is a true and correct copy of excerpts of the

March 7, 2017 deposition of Jennifer Kretchmar.

        76.    Attached hereto as Exhibit 73 is a true and correct copy of excerpts of the June

21, 2017 deposition of Andrew Parrish.

        77.    Attached hereto as Exhibit 74 is a true and correct copy of excerpts of the May

17, 2017 deposition of Ni-Eric Perkins.

        78.    Attached hereto as Exhibit 75 is a true and correct copy of excerpts of the May

19, 2017 deposition of Barbara Polk.




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        79.    Attached hereto as Exhibit 76 is a true and correct copy of excerpts of the

September 14, 2016 deposition of Jared Rosenberg.

        80.    Attached hereto as Exhibit 77 is a true and correct copy of excerpts of the June

20, 2017 deposition of Lynn Williford.

        81.    Attached hereto as Exhibit 78 is a true and correct copy of Panter Exhibit 2,

which was marked by SFFA at the second Panter deposition. The document bears the bates

number UNC0380383 and was produced by UNC in this litigation.

                                      *       *       *

        I declare under penalty of perjury, under the laws of the United States, that the

foregoing is true and correct to the best of my knowledge.

        Executed on this day, January 18, 2019:

                                                      /s/ Thomas McCarthy
                                                      Thomas McCarthy




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